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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    Case No. 9:19-cv-81160

   APPLE INC.,

                      Plaintiff,

            v.

   CORELLIUM,
   LLC,
                      Defendant.


                        ORDER GRANTING JOINT MOTION TO MODIFY
                                 PRETRIAL DEADLINGS

          THIS CAUSE came before the Court upon the Parties’ Joint Motion to Modify Pretrial

  Deadlines (“Motion”) [D.E. ]. Upon Consideration of the Motion, the pertinent portions of the

  record, and being otherwise fully advised in the premises, it is hereby,

          ORDERED AND ADJUDGED that said Motion is GRANTED.

          1.     The deadline to file a motion to amend the complaint and/or joinder of additional

  parties is December 22, 2019.

          2.     Plaintiff shall disclose its experts and provide its summaries/reports on January 31,

  2020.

          3.     Defendant shall disclose its experts and provide its summaries/reports on March 2,

  2020.

          4.     The Parties shall exchange their rebuttal expert summaries/reports on March 16,

  2020.

          DONE AND ORDERED at Fort Lauderdale, Florida, this ____ day of November, 2019.

                                                       ________________________________
                                                       RODNEY SMITH
                                                       UNITED STATES DISTRICT JUDGE
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  Copies to: Counsel of record




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